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              ATTACHMENT A
            SEPTEMBER 6, 2024
       CBP JUVENILE COORDINATOR
             INTERIM REPORT
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                                                                              1300 Pennsylvania Avenue, NW
                                                                              Washington, DC 20229




  September 6, 2024

  MEMORANDUM FOR:                 The Honorable Dolly M. Gee
                                  Chief District Judge
                                  U.S. District Court, Central District of California
                                                                                                                             9 /5 /2 0 2 4



  FROM:                           Henry A. Moak, Jr.                          X

                                  Chief Accountability Officer
                                                                                  S ig n e d b y : H E N R Y A M O A K J R
                                  U.S. Customs and Border Protection

  SUBJECT:                        CBP Juvenile Coordinator September 6, 2024, Interim Report

  On August 2, 2024, this Court ordered the U.S. Customs and Border Protection (CBP) Juvenile
  Coordinator to file an interim report by September 6, 2024, to “supplement his prior May 10,
  2024, interim report…and to provide the Court with an update regarding the present conditions
  at the OADS1.” The Court ordered that the report cover the same topics as the April 3, 2024,
  order, including: “an update regarding the number of minors held in open-air sites and the status
  of compliance with this order.” The April 3, 2024, order required the CBP Juvenile Coordinator
  to “(a) maintain records and statistical information on minors held in CBP custody for more than
  72 hours, inclusive of the amount of time any Class Member spends in the open-air sites; and (b)
  monitor compliance with the Agreement with respect to any minors held in open-air sites.”

  In response to the August 2, 2024, Court Order stipulating that a second interim report on the
  outdoor congregation areas (OCAs) be filed by September 6, 2024, I took my Flores team to San
  Diego Sector (SDC) on August 15, 2024. We visited five of the OCAs discussed in the April 3,
  2024, Court Order, three of which we visited on May 1, 2024, as well as two new areas. During
  the August 15, 2024, visit, in addition to having U.S. Border Patrol (USBP) sector and station
  management present at each OCA to provide information and answer questions, we were
  fortunate to have attorneys from the U.S. Department of Justice and the U.S. Customs and
  Border Protection Office of Chief Counsel join us. This visit reaffirmed prior observations that
  some OCAs are in remote, barren open desert and some of the OCAs are located on private land.
  The care and concern observed during our visit reenforced my confidence that USBP, and more
  broadly CBP, remain in compliance with the Flores Settlement Agreement (FSA).

  In addition to CBP remaining in compliant with the FSA, USBP issued policy guidance in
  response to the April 3, 2024, Court Order. CBP is not directing migrants to OCAs nor holding
  them at OCAs, except for the time required to organize transportation to safe and sanitary USBP
  facilities. USBP expeditiously transports Unaccompanied Children (UCs) and Family Units
  (FMUs) from the OCAs to these USBP facilities. CBP is gathering statistics for large groups

  1
      Open-air detention sites.
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  congregating at OCAs, including recording the time such groups are observed and the time they
  are apprehended, among other data.

  OCAs are often barren areas in open desert, and on August 15, 2024, I did not observe any
  migrants congregating in these areas. Based on my observations, and USBP statistics, the OCAs
  are areas where migrants congregate on one day, not again for several days, and then maybe not
  at all. The random and unpredictable nature of the OCAs presents a major personnel and
  logistics challenge for CBP. The resources and personnel I observed were responding as I
  expected, with USBP placing humanitarian aid such as water buffalos,2 port-a-potties,
  handwashing stations, and dumpsters at known OCAs.

  During this visit, as with prior visits, once agents discover a group of migrants, whether at an
  OCA or otherwise, USBP responds to the area with personnel and vehicles to transport the
  migrants to USBP facilities. Regardless of the location, USBP quickly assesses the situation and
  prioritizes the transport of UCs and FMUs as required by the FSA. While I did not see any
  migrants at the OCAs observed during this visit, as we were traveling from one OCA to another,
  I observed USBP vehicles going in the opposite direction, and we joined the USBP vehicles. As
  a result, we were able to observe a USBP law enforcement operation in which agents were in the
  process of preparing to transport a group of migrants, including juveniles. The agents were
  onsite and ready to transport the entire group within an hour after discovering them.

  The preceding example is consistent with the operational practices that are familiar to me in my
  observations and reporting since 2017. The following are my findings from my August 15,
  2024, visit to San Diego Sector.




  2
      Water buffalos are large temporary water tanks. An example is in Photograph 20.
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  USBP Guidance
  On June 5, 2024, the Chief of the USBP issued guidance via memorandum implementing the
  provisions of the April 3, 2024, order3 regarding Flores custodial obligations in OCAs and
  ensure compliance with the Court’s Order. The guidance reiterated that custodial obligations
  start when agents apprehend and transport noncitizens congregated in the OCAs, including when
  instructing such individuals not to leave a certain area. The guidance instructed agents not to
  direct noncitizens to OCAs where noncitizens have begun congregating nor take steps to
  organize, prioritize, or triage noncitizens at an OCA unless they are taking steps to apprehend a
  noncitizen. The guidance also clarified that USBP may provide limited humanitarian aid, such
  as snacks, bottled water, portable restrooms, and emergency medical care, in such outdoor areas.
  The guidance reminded agents that any restrictions on noncitizens’ movement would trigger
  custodial requirements. In addition, the guidance specifies USBP will not install physical
  barriers at OCAs and will not prevent volunteers from accessing areas in which noncitizens are
  congregating, unless such individuals are determined to pose a risk to the life and safety of
  noncitizens or USBP personnel.

  Overview of Observations
  Based on my observations during this time, USBP continues to apprehend noncitizens consistent
  with the FSA and CBP policies and processes, including prioritizing the transport of UCs and
  FMUs to USBP facilities for processing. USBP is not directing minors to OCAs nor holding
  minors in OCAs, except for the amount of time it takes to arrange for transport. USBP may
  escort individuals apprehended in the field, in between the ports of entry, to a location where
  large capacity transportation conveyances can access from a road or highway. Agents were
  instructed to not direct noncitizens to these areas, and my conversations with USBP on the
  ground supported they were following the guidance.
  Other than existing physical barriers such as pre-existing fencing, we did not observe any
  physical structures placed by USBP. At the Willows and Moon Valley/O’Neil locations, non-
  governmental organizations (NGOs) erected structures. USBP has placed humanitarian aid such
  as water buffalos, port-a-potties, handwashing stations, and dumpsters in the areas. I understand
  that a local government entity donated one of two dumpsters at the Willows OCA.

  San Diego Sector Visit
  On August 15, 2024, my team and I visited the Whiskey 4, Whiskey 8, Tower 177, Willows, and
  Moon Valley/O’Neil OCAs in USBP SDC to observe the conditions on the ground. Whiskey 4
  and Whiskey 8 are in the Imperial Beach Station’s Area of Responsibility (AOR) which is near
  the San Ysidro Port of Entry. Tower 177, Willows, and Moon Valley/O’Neil OCAs are near
  Jacumba, CA in Boulevard Station’s AOR. These five areas were selected as they were where
  USBP agents most commonly reported OCAs before my visit.

  Imperial Beach Station continues to be the UC hub for SDC. UCs are held at other stations for
  the time needed to process and prepare them for transfer to Imperial Beach Station. FMUs are

  3
   See CBP Guidance Memorandum, Sealed Document ECF No. 1459, U.S. Department of Homeland Security, U.S.
  Customs and Border Protection. (June 5, 2024).
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  transported to SDC-Soft Sided Facility (SSF), previously known as the San Diego Area
  Detention facility (SAD).

  I would like to reiterate that USBP did not establish the OCAs, and the specific locations change
  based on migration flow and travel patterns. There is no set number of OCAs, because they pop
  up wherever migrants congregate. As of the time of my visit, and in the recent past, there were
  no large numbers of migrants congregating in outdoor areas daily. During my visits to the
  sector, SDC leadership informed me that they do not have a policy or practice of directing
  noncitizens to these locations, nor requiring them to stay at these areas. When USBP arrives at
  the locations, agents apprehend the individual(s), when warranted, and USBP begins to arrange
  transportation or initiates transportation at that time to a USBP facility. SDC stated that they
  may inform migrants at an OCA, during field interviews, or post-apprehension, that a transport
  vehicle is in route, and that migrants will be transported to a USBP facility to be processed.
  Additionally, USBP informed me that NGOs, often wearing neon reflective vests, were guiding
  migrants to the OCAs which may have resulted in migrants thinking they were CBP employees.
  Handouts, not created by USBP, with instructions in Spanish on traveling to OCAs and what to
  expect while in detention, were found near the OCAs.

  USBP’s daily responsibilities include but are not limited to patrolling their AOR, which may
  include areas where migrants are congregating, maintaining traffic checkpoints, conducting anti-
  smuggling investigations, and apprehending, and processing migrants in USBP custody. SDC
  does not generally have a specific agent assigned to a particular OCA; rather, if an OCA is in a
  particular AOR, maintaining operational awareness of the particular AOR, which includes an
  OCA, is part of USBP’s daily responsibilities. Agents may become aware of people
  congregating at OCAs through various means such as detection technology, USBP agents
  driving by, or call-ins by individuals or local government services. Response to a report of
  migrants congregating will be prioritized in consideration of any other existing operational
  enforcement activity. Once made aware of individuals congregating at an OCA, USBP will
  respond to that area as expeditiously as possible, taking into account other operational activities
  and responsibilities occurring at the same time and ensuring they have needed items such as car
  seats. Once agents arrive at an OCA, they will prioritize the transport of vulnerable populations,
  including UCs and FMUs. All FMUs are transported to safe and sanitary USBP facilities
  together; no parents or legal guardians are left at the OCAs while their child is transported to a
  facility. Time in Custody (TIC) starts at time of apprehension as recorded during mobile intake.
  When mobile intake is not accessible in the field, the documented apprehension time is entered
  in the system once processing begins at a station.

  There were no migrants, including children, at any of the five OCAs while I was in SDC. At
  approximately 8:15 a.m., USBP stated that earlier in the morning, around 4:00 a.m., there was a
  group of 52 individuals, including 2 UCs and 5 FMU juveniles, at Bell Valley in Campo Station
  AOR, but USBP had already transported them from the area.
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  During my visit, I did not observe USBP presence in the OCAs except at Whiskey 4. Agents
  have been regularly assigned to Whiskey 4 as part of their law enforcement responsibilities even
  before it was considered an OCA. After leaving Tower 177, USBP was notified of a group of 26
  crossing into the U.S. from the U.S.-Mexico border at a nearby location; when I saw USBP
  vehicles going past us, I asked that we go there. The group was detected through sensors around
  12:30 p.m. and were not congregating at a known OCA. By the time my group arrived at the
  area at around 1:15 p.m., FMUs with tender age children were already in an air-conditioned
  vehicle, and a small group of FMUs and single adults were in an air-conditioned van. A small
  group of less than 10 single adults, was sitting outside waiting for an additional vehicle to arrive.
  The additional vehicle arrived as we arrived, and the group went in the vehicle while I was
  onsite. USBP had bottled water onsite in their vehicles. Within an hour, USBP observed,
  apprehended, and transported this group of migrants to Boulevard Station, approximately 15
  minutes away, allowing FMUs to be expeditiously transferred to a USBP facility where they
  could receive food, snacks, water, and medical assistance while continuing their processing.
  This exemplifies USBP’s commitment to safeguarding our borders while maintaining safe
  conditions for migrants.

                   Table 1. Humanitarian Aid Provided by USBP at Visited OCAs

                                                                                  Hand
                                             Water             Port-a-
                                                                                 Washing           Dumpster
                                             Buffalo           Potties
                                                                                 Stations
      Whiskey 4                                No                 Yes              No                  No
      Whiskey 8                                No4                Yes              Yes                 Yes
      Tower 177                                No5                Yes              Yes                 Yes
      Willows                                  Yes                Yes              Yes                 Yes
      Moon Valley/O’Neil                       Yes                Yes              Yes                 Yes

  Humanitarian aid equipment provided by USBP, as listed in Table 1, is regularly serviced as part
  of USBP contracts with vendors. Typically, they are serviced at least once a week. Water
  buffalos are serviced 2-3 times a month. Dumpsters, hand-washing stations, and port-a-potties
  are serviced twice a week. USBP can request additional service as needed in accordance with
  acquisition policies and procedures. I, or various members of my team, tested the port-a-potties
  and hand washing stations at all OCAs. The port-a-potties were clean and well maintained.
  Except for the one at Tower 177 and one of two at Moon Valley/O’Neil, the hand washing
  stations all had water and soap available; I was informed that the hand washing station at Tower
  177 had been filled with water the week before; high temperatures probably evaporated the water
  before the vendor could refill it.




  4
    The water buffalo at Whiskey 8 was damaged, and USBP was in the process of replacing the water buffalo as of
  August 28, 2024.
  5
    The water buffalo at Tower 177 was removed by the vendor because it was vandalized. USBP is planning on
  replacing the water buffalo at Tower 177 in the near future.
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  Near San Ysidro Port of Entry OCAs
  Whiskey 4 and Whiskey 8 are located along the International Boundary Barrier with access to
  Mexico. Whiskey 4 currently has no permanent barriers between the U.S. and Mexico, but it
  will once the bridge is completed. Whiskey 8 OCA is between the primary and secondary
  barrier systems. USBP mentioned that these two OCAs have seldom been used in recent months
  as large group traffic has shifted east towards Jacumba, CA. Apprehensions in these OCAs have
  recently only consisted of small migrant groups. An NGO set up tents at Whiskey 8 to cook for
  large groups and attached a power strip to the northern fence for migrants to charge small
  electronics; NGO personnel were not present while I was at Whiskey 8.

  Whiskey 4
  Going in order from photographs 1 to 4, taken at the shade structure where a USBP vehicle was
  parked while I was present at the Whiskey 4 OCA, provides a panoramic view from East to
  West. A bridge is under construction at Tijuana River – San Diego County for future use by
  USBP agents. Since my last visit, bridge construction continued, as seen in the photographs at
  Whiskey 4. Depending on manpower and field requirements, SDC may station an agent at this
  location to deter illegal crossings. In addition, the agent would be able to quickly respond to
  observed illegal crossings, including the apprehension of individuals congregating at Whiskey 4.




                                                                     Photograph 1. Photographer is
                                                                     standing on the North levee looking
                                                                     South. After the bridge, under
                                                                     construction in the distance, and
                                                                     behind the fencing along the right side
                                                                     of the photograph, is Mexico.




  Photograph 1
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                                                                Photograph 2. Shade structure for
                                                                USBP vehicle.




  Photograph 2




                                                                Photograph 3. Photographer is
                                                                standing directly behind the shade
                                                                structure, looking due South towards
                                                                Mexico.




  Photograph 3
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                                                                 Photograph 4. Photographer is looking
                                                                 West.




  Photograph 4


  Whiskey 8
  Photographs 5 to 8 were taken at the Whiskey 8 OCA. USBP was aware that the water buffalo
  was damaged and was waiting on the contractor to replace it.




                                                                 Photograph 5. Photographer is looking
                                                                 towards Whiskey 4 in the East.
                                                                 Shows humanitarian aid available.




  Photograph 5
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                                                                  Photograph 6. Photographer is facing
                                                                  North-East. Shows humanitarian aid
                                                                  available at Whiskey 8, with the
                                                                  water buffalo damaged. The “tent”
                                                                  connected to the fence was placed by
                                                                  a migrant. Tents on opposite side of
                                                                  fence placed by NGO and located in
                                                                  the U.S.




Photograph 6




                                                                 Photograph 7. Photographer is facing
                                                                 North-Northeast towards Whiskey 4.




Photograph 7
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                                                                  Photograph 8. Photographer is looking
                                                                  North-West. Mexico is behind the
                                                                  photographer. A dumpster is shown.




Photograph 8


Jacumba, CA Area OCAs
Tower 177, Willows, and Moon Valley/O’Neil are in mountainous areas. Tower 177 is located
less than 1 mile from the Mexican border and is incredibly remote. While I was onsite,
temperatures were reading at 101° Fahrenheit.

In my previous interim report, I noted the remoteness of the Jacumba area OCAs. At Tower 177,
all migrants must be shuttled by van from the OCA to high-capacity buses waiting on the hard
top road for transport directly to the SDC-SSF. USBP is unable to drive the buses on the rugged
unpaved road and over the railroad tracks leading to Tower 177. I believe this could be what
migrants mean when they discuss being picked up by USBP and taken somewhere outside to
wait before being transported to a station or SDC-SSF. High-capacity buses also did not have
access to Willows but did have access to Moon Valley/O’Neil.

Moon Valley/O’Neil is as far east in SDC as one can drive before crossing into another sector’s
AOR. This increases the drive times to the SDC-SSF and other stations. It takes, at a minimum,
1 hour and 18 minutes to drive to the SDC-SSF from Moon Valley/O’Neil. This OCA is about a
15-minute drive to Boulevard Station.
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Tower 177
Photographs 9 to 14 show the area around the Tower 177 OCA. Tower 177 is located on private
property. These photographs show another part of the OCA compared to the photographs in the
May report, but all show parts of the Tower 177 OCA where migrants have congregated.




                                                                 Photograph 9. Photographer is
                                                                 looking towards where the
                                                                 photographs were taken in the May
                                                                 interim report.




Photograph 9




                                                                 Photograph 10. Photographer is
                                                                 facing East, humanitarian aid in the
                                                                 OCA.




Photograph 10
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                                                                 Photograph 11. Photographer is facing
                                                                 West. Humanitarian aid is behind
                                                                 photographer.




Photograph 11




                                                                 Photograph 12. Photographer is facing
                                                                 West, from a higher point in the OCA.




Photograph 12
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                                                                  Photograph 13. Photographer is
                                                                  facing South.




Photograph 13




                                                                  Photograph 14. Humanitarian aid at
                                                                  Tower 177 OCA. Hand washing
                                                                  stations are in front of port-a-potties.

                                                                 stations are in front of
                                                                 port-a-potties.




Photograph 14
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Willows
Photographs 15 to 20 show the Willows OCA. Willows is on private property. The shade
structure set up at Willows OCA was placed by NGOs. USBP placed one dumpster that is
serviced twice a week. An additional dumpster was donated by a local government entity.




                                                                 Photograph 15. Photographer is
                                                                 standing on a small hill looking South
                                                                 towards the OCA.




Photograph 15




                                                                  Photograph 16. Photographer is
                                                                  looking West next to the port-a-
                                                                  potties.




Photograph 16
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                                                                  Photograph 17. Photographer is
                                                                  looking North-West. Shade structure
                                                                  installed by NGOs.




Photograph 17




                                                                 Photograph 18. Photographer is
                                                                 standing in the South side of the
                                                                 OCA looking North.




Photograph 18
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                                                                  Photograph 19. Humanitarian aid at
                                                                  the OCA.




Photograph 19




                                                                  Photograph 20. Photographer is
                                                                  looking East. Humanitarian aid is
                                                                  shown in picture.




Photograph 20
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Moon Valley/O’Neil
Photographs 21 to 28 show the Moon Valley/O’Neil OCA. Moon Valley/O’Neil is on private
property. NGOs set up the structure at Moon Valley/O’Neil OCA. USBP removed the structure
as it posed a risk to migrants who could be assaulted inside the non-transparent structure. In
addition, wildlife such as rattlesnakes may take shelter inside the structure and harm individuals
who do not see them. Despite these concerns, NGOs rebuilt the structures.




                                                                    Photograph 21. Overview of the
                                                                    OCA, facing East.
                                                                    OCA, facing East.




Photograph 21




                                                                     Photograph 22. Photographer is
                                                                     looking South.




Photograph 22
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                                                                  Photograph 23. Photographer is
                                                                  facing South-West.




Photograph 23




                                                                  Photograph 24. Photographer is
                                                                  facing South-West.




Photograph 24
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                                                                  Photograph 25. Photographer is
                                                                  facing North-West towards I-8.




Photograph 25




                                                                  Photograph 26. Water buffalo at
                                                                  Moon Valley/O’Neil.




Photograph 26
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                                                                 Photograph 27. Humanitarian aid at
                                                                 Moon Valley/O’Neil.




Photograph 27




                                                                  Photograph 28. Structure built by
                                                                  NGOs.




Photograph 28
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Issues with Transportation
USBP continues to expeditiously transport UCs and FMUs to safe and sanitary USBP facilities
to be processed. USBP prioritizes UCs and FMUs for transport to the nearest facility. At the
OCAs I visited, UCs and FMUs are generally transported to USBP facilities within 2 hours of
when USBP conducts their field interview. Transportation times are based on current
apprehension trends and may require more than 2 hours to transport UCs and FMUs to USBP
facilities if numbers increase in the future. Transportation issues may exist due to the number of
migrants encountered, available detention space at USBP facilities, vehicular traffic in the
greater San Diego area, the remoteness of areas with migrants, and the availability of vehicles or
car seats. USBP currently has fewer transportation issues than when the OCAs were used
consistently by large groups of migrants and can more quickly address transportation needs.

In Fiscal Year 2024 to date, SDC has encountered 6,275 UCs and 66,823 FMUs.6 Large groups
of individuals encountered, coupled with personnel shortages and competing operational
priorities, may exceed SDC’s ability to immediately apprehend and transport migrants to the
nearest USBP facility. However, USBP prioritizes UCs and FMUs at the OCAs to quickly
transport them to a USBP facility for processing, consistent with the FSA and current CBP
policies and procedures.

Whiskey 4 and Whiskey 8 are more accessible by paved roads. Tower 177, Willows, and Moon
Valley/O’Neil are on private land in remote locations. High-capacity buses cannot pick up
migrants at Tower 177 due to the rugged unpaved road and railroad tracks leading to the OCA.
Therefore, USBP must use smaller vans to access this remote area and safely transport migrants
to the nearest USBP facility or to the buses waiting at the hard top road. High-capacity buses
also do not have access to Willows. However, all migrants are transported as expeditiously as
possible.

SDC Statistics Pertaining to Children
As requested in the April 3, 2024, Court Order, CBP collected statistical information on minors
held in CBP custody for more than 72 hours. From August 2, 2024, to August 20, 2024, there
were a total of 135 UCs and FMU children in SDC who were held over 72 hours. These
numbers represent children’s total time in custody, which may include some time at an OCA
prior to being transported to a USBP facility. A further breakdown by hour is shown in Table 2.
As provided below, 17.04% of children held over 72 hours were held under 80 hours.




6
 See, Southwest Land Border Encounters by Component: Fiscal Year to Date (FYTD), U.S. Department of
Homeland Security, Customs and Border Protection, https://www.cbp.gov/newsroom/stats/southwest-land-border-
encounters-by-component, (last visited Sept. 4, 2024). Note that in this statistic, FMU includes both adult parents
and children in a family unit. Fiscal Year to Date includes statistical information from October 2023 to July 2024.
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                       Table 2. TIC of Children in SDC Over 72 Hours
                           TIC in       Number of     Percentage of
                            Hours        Children       Children
                             72-80          23           17.04%
                             81-90          11            8.15%
                            91-100          12            8.89%
                           101-110          15           11.11%
                           111-120           6            4.44%
                           121-130          13            9.63%
                           131-140           8            5.93%
                           141-150           6            4.44%
                           151-160           9            6.67%
                           161-170           5            3.70%
                           181-190           7            5.19%
                           191-200           1            0.74%
                           201-210           8            5.93%
                           211-220           5            3.70%
                           221-230           2            1.48%
                           281-290           2            1.48%
                           291-300           2            1.48%
                             Total         135           100.0%

During that same period, the average TIC for children in SDC held over 72 hours was 131 hours.
The average TIC for all children held in SDC are listed in Table 3.

                                Table 3. Average TIC in SDC
                                                 Average TIC in
                             Demographic
                                                     Hours
                                 FMU                 41.08
                                  UC                 26.52

Average TIC for UCs in SDC from August 2, 2024, to August 20, 2024, is 26.52. Average TIC
for FMUs during the same period is 41.08. An individual’s time in custody can be influenced by
certain factors, some of which include placement delays or hospitalization of the child and/or
accompanying family member.
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SDC is tracking when large groups over 50 are observed and apprehended. Table 4 includes
statistics for three large groups over 50 in the month of August.

                                      Table 4. Large Groups in SDC7
                           Time
              No. of                        Time                                      UC                 FMU
     Date                  First                                 Location
              Arrests                    Apprehended                                Juveniles          Juveniles
                          Observed
                                          3:03 a.m. and
    8/07/24     147       2:09 a.m.                             Zone 32 A                5                 29
                                            3:30 a.m.
    8/10/24     98       10:30 p.m.        12:16 a.m.            Zone 32B                3                 31
                                         10:52 p.m. and
    8/11/24     78        9:49 p.m.                               75 Road                2                 17
                                           11:07 p.m.

Conclusions
Based on my observations of the OCAs in SDC, CBP continues to prioritize UC and FMU
transports to USBP facilities, in accordance with the FSA. Further, USBP is following the
guidance issued in response to the April 3, 2024, Court Order. Upon observation of migrants
congregating at these areas, USBP will identify UCs and FMUs and expeditiously transport them
to USBP facilities within 2 hours, a significant decrease from the previously reported 6 hours.




7
 The information about large groups at OCAs as shown in Table 4 was provided to the Juvenile Coordination
Division by CBP for the purpose of this report. Information is a manual review and not necessarily 100% accurate.
This is not official data published on cbp.gov.
